

ORDER

PER CURIAM.
AND NOW, this 25th day of May, 2006, a Rule having been entered by this Court on April 17, 2006, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Robert S. Grossman to show cause why he should not be placed on temporary suspension and, upon consideration of Respondent’s Consent to Suspension and response thereto, it is
ORDERED that the Rule is made absolute, Robert S. Grossman is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
